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                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

 ANDRE L. MCRAE,                         :

              Petitioner                 :     CIVIL ACTION NO. 3:19-1070

      v.                                 :          (JUDGE MANNION)

 DAVID EBBERT, Warden,                   :

             Respondent                  :


                                    ORDER

         For the reasons set forth in the Memorandum of this date, IT IS

HEREBY ORDERED THAT:

         1. The petition for writ of habeas corpus (Doc. 1) is DISMISSED
            for lack of jurisdiction.

         2. The Clerk of Court is directed to CLOSE this case.



                                             s/ Malachy E. Mannion
                                             MALACHY E. MANNION
                                             United States District Judge

DATE: December 30, 2020
19-1070-01-Order
